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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )              CASE NO. 8:14CR296
                                                )
               Plaintiff,                       )
                                                )
               vs.                              )              TENTATIVE FINDINGS
                                                )
KRISTEL A. SCHLEIGH,                            )
                                                )
               Defendant.                       )

       The Court has received the Revised Modified Presentence Investigation Report and

Addendum (“PSR”). The parties have not filed formal objections to the PSR. See Order on

Sentencing Schedule, ¶ 6. (The Court takes note that in the Addendum to the PSR, the

parties objected to Paragraph No. 23 indicating that paragraph does not comply with the

terms of the Plea Agreement.) The Court advises the parties that these Tentative Findings are

issued with the understanding that, pursuant to United States v. Booker, 543 U.S. 220 (2005),

the sentencing guidelines are advisory.

       Accordingly,

       IT IS ORDERED:

       1.      The parties’ informal objection will be heard at the sentencing hearing and the

Court intends to adopt the parties’ plea agreement;

       2.      If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary hearing
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is requested, a statement describing why an evidentiary hearing is necessary and an

estimated length of time for the hearing;

       3.     Absent submission of the information required by paragraph 2 of this Order,

these tentative findings are final; and

       4.     Unless otherwise ordered, any motion challenging these tentative findings shall

be resolved at sentencing.

       DATED this 9th day of July, 2015.

                                            BY THE COURT:


                                            s/Laurie Smith Camp
                                            Chief United States District Judge




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